     I        0        Zr                      Zr              C’)          ‘)        Cl)             ‘     (‘F                   rt                                                                        q
                                                                                                                     Zr                    a                   a      SD                                    4
:x            0            )                                   SD          C          rt’        C          I’S      a                           t’t
I’                    rt                                                                                                                CD                     I”    ‘0                0               —I
                                                               Cd                     SD         a          H’       H’           CD    H)       ct        to
U’        :i          :r                       C)              to          to
                                                                                                                                                                     ‘0                                F’l
                                                                                      t’t        I’         SD                          CD       0           t        I”               Z              I’J
          CD                                   0               m           CD         CD          )         F’       0        ‘0                 II        I’S
:i        o
                                                                                                                                        :3                            I’                              LII
                      ‘
                                                                           s         to          H’                               Ft    a                  H’         C)              Cl)
a’        0                                    It              to          ft                                                                                                                         (3
          —                                                                                     SD          E        ft          0      SD       CD        C)         SD              C)
                                           I’                              Ii     C)            I”          H’       E           C)     tI      1<              V     It
          H’                               :3                                                                                                                                         N               C)
                                                                   )    a         o                         It       SD          CD     c-F                           Ii,
 D        SD               I               St                  E                  a             0           :z’      Ft
                                                                                                                                                                                      C               ‘I
I’S       ft                         I_a                                                                                         CD                        0          0               X
                      ::t                   II           t’l       S    rt        CD            H)          H’       a           a              SD
          CD          H                                                                                                                 C-I                H)         Z      Ii       P1     ‘4       Ii
                                 •         0.            “d    ‘                                Hi              3                I”
1-                    ft                                                                                                                0       ‘0                           :i       Z      •        N
                                                                                                H                      1’     i                 ‘0         2         C       I”       0               C)
          ft           D                   I’t           H              to        C)          •)                I    tl’     ‘0         :3      CD             Ti
                      Li         I”                                                                                                                                  H)      to
                                                                        C         CD         CD            0         SD          to             u
 I       ‘I,                     I,            I                                   )         Ft                       t                 Cl)     F’S
          I           0                                                           ct                                                                                         H                        ‘I,
                                                         ‘S             :-                                 a                     H’     0       H’             -‘    SD      SD
          CD           ‘S        51            V                                  I”         0             SD        tl’         :s     N                                         V
                      £1                                                                                                                        Z              U     C
                                               r         izi            p                    pt           ‘<            I,              0      La          15        1’     It
                                                                                                                                                                                                                                  Case 2:08-cr-00620-KM




 )                               r’            r                                                           to                 rt
          SD                                             Pr,                                                                            :3                 to               CD                        1:1
                       D             I                                                       ft                         r               CD                 o
         iC)          to         0         It            II                                                                                                                 is                                     Ii
                                                                                      &      t3’           0        SD        CD                ft
          Ft                                                                                                                                                                                          IS        iii)
                                                         z              9         F’         H’            Iti      to
%.                                                                                                                                      0                                                             C)
          CD          SD              I.                                I         Ø          to                               SD        I       ‘:3.
          7           I          II
                                           ,
                                                                                                                                                                            SD                                  ‘it,
                                                                       1’         P’                       (—I’          V                                 :1)       I’-
                      Li         1.                                    .1                                                                                                   ‘4                                      L
                                                     z                                           •)        .        t,3          )                         •         to     F                                        I C)
              D                 It                   6’)               I-            ‘)          .)        a’       CD                          a’                   •“
                  (1                                                                                                          s        H)
                                I,         I’                          SD                    C                                CD           3     ‘F
              t                 C,         :‘
                                                                                                                                                               b
                                                                                                                                                               4            a                                        I’
                                                                       -,                    ii            a        Ft            I    Fl       CD                   ft                                                ‘I
                                :,i        Q         LII                    S    i               t
                  T                                                                                        SD       I’d        )                F’S        to        :3
                                to                                                                         rt       G         SD       ft                  1)                                                   I        ()
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         V        0.                       I’I       I..)                                   o
                                                                                            t              CD       :i       ‘0                        o
                                                                                                                                                       t
         :7                     SD          D                                               La                           V
                  Ft            I          ft        II                                                                                                                      U                                  2 I,
                                                                       U         SD          I                                         I                                              •.    ..    ..            II I
          3                          D         )     C)                r’        :i         to             I”i      -t                 l’s                     ‘3   F’                                          3.1      7
         :3’                                                           £2        Li.
                                                                                                                              6’                                            0’
                                                                                            C                                          a                            4        D
                  Li                                                                        I             rr                 CD        CD       to     I”           CI      Ft
         V                      5-         to                                                                                                                                          .3                                “A
                                                          ‘I
                                                                                 P          :             I         :i       0         Ft              0            1)                       ‘S                     Ii        I
                  .1            F’S                                              to              t        to
                                I?
                                                                                                                    SD4      ‘
                                                                                                                                                                                            I’    !.‘           Al
                                                                           I                                                           a        La     C            C)      lii       I,          .
                                                    ‘I                                I,                                                                              4
                                                                                                                                                                                                                C)
                                                                                                —         ft         I                 Ft       to                                    1)
                                                                       £4                                 to                 rr        Ii’                                   ‘F                                 Ii
                  ‘I                 F                   I                                                                                     ‘U                                                 I’
                                                                                  D                       ‘0            t        t                                    ‘I              1J    “     I
         Ft       to            I’                                                          H             CD        tr       CD        c-F             ‘3           CI
                                                                                                                                                                                                                                  Filed 09/07/10




                                                     D                 ‘-4
                                                                                                                                                                                                       )
                                                                                 C                        SD        CD       I’S                       I,)          to                                7’,                ‘A
         —I       i’j                                •1                           D         c-F           Ft                           6                                        2                 II
         I)           1.                                                         Ft         I-                      -4
                                                                                                          SD                                   ‘ii     to            t’                3          a
          U                    6                                                 CI          I)           :s        hi       ft                o           -r
         Ft       I                                 :3                                                                                                                                            Ci
                                                                       p1        :                                                     I’,      1      SD             F     II              I     ‘
                  0.           ‘CI                  H’                           C)         4             CD         V       C)                I       3                    ‘I        i3
         ‘-       I                                 CL                                                                                                                                      .3    LI
                                                                       .1                   x                       a                  3                                               ‘I   I)
         :        i                                                                                       Zr         I            F    )
         ‘:                    0                                       it         •t                                                                                                  :1          ‘A
                                                                                                          CD                                   •3              T
                                                                                                Si        t’t        3       CD        9        ,J     •
          t                     U                        t                                                          Ii                                         2            tt                    I)
         Ft       :s           C,                   I’                  1        ft          t            I’S                a                 H       •            Ft      •1
                  SD           to                    :3
                                                                                                                                       6                                               3          II
                                                                                 CL                       CD        C                  C                                    U                     (LI
                  I’                                                   T                    CI                      U        I-I       SD      15                   F’S                           LI
                                                                       :1                                                    a
                                                                                                          CI,
                   t           ft                                       4                    “                      —fr
                                                    to                                                                       I,,
                  I-’                               :3’                                                                      0
          t                    0.                                                           H                        F       ft
                                                    [4                                      -t
                                                                                                                                                                                                  C)
                                                                                                                                                                                                  LI’
                                                                                                                             c-F
                                                                                                                                                                                                                                  Page 1 of 2 PageID: 73




                                                                                                                                       Ft
                                                    CL                                      a
                   H     C)              -           N)                          Cl     C       Cl)                )
                   N)                    CD               )                      C)     C       (1)
                   N)    C)          -                                           Ct    C)       C)                C)           Co
                   N)   Co                           C)                           C    C)       cC                             N)
               (C)       C)             N)                                       C)             N)                     -        C
                         C)             C)                                       Cl    C)       C)                             C
               N)        H-              —           C                           CD    C        C)
               Cx        C)             C)           C)                          C)                                            C
               -        C)                           (C                          N)    C)       (SC
                                                                                                                               C)
                                                                                 U)    C)                                      C)
               (C)      N)              c-C    HI                 HI       CD)          C       CC)                        -   C
               C)       H               Co     H                  H        C))   H                                              C
               N)       C)              Ci                                 (rj   C)     )             S
                                                                                                                               C)
               N)       (F           C)        N)                 N)       Co          C)                                       C
               (C                    (C        (I)                CC       ((C   C          C                                  [C
                                    c-C)
                                     Co        CC             0            0     o      C       cx
               Co       Cl                     CC             Co           Co    Co    N)
               N)       I            Cl        Co             U            CC    C)    C)
                                                                                                                                    Case 2:08-cr-00620-KM




               Ci       o            C)          C            CI                 (C    [(F
               N)                    C)        [C             Co                 Cl
               (I)           C       ({)       ((C            (C                 1<      t      C)
               U)       C)            C        Co             U            C)          C)       (F                         C
                         C           (F)                                         it
               F)                        C                                  I    L-F             C
               o                                              CD           CD    H-    C)       C)
               C)       Co                                    (I)          H-    Cu     C       C)
                   C                                                       C)    N)    U)       U)
                                         C                         I                    -t                    I
                                    -
               U)       Cl                                    H-                                          C
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               (C                                             C
               C)            C           D
               N)        )                                                                                C
C     )I’      C                -                             H-
                                    -‘


 C         (   C)                                                      C)                                     C
                                                              C)       L<)
               N)       C           Co                            C
               C                    Cu
               (C           C       H                         (C       11
 )L C)                              N)                                                 It
                                              C))             C)
                                                              (S

                                                                       ()
               Co           -t      C)        1)              C-       Ci
                                                                                                                                    Filed 09/07/10




                                     C        r                C
                                                              C)                                          C
               )                    l         (C                       (Cl
                             C      (C                        C-C      (F
                        Cx                      C                      (C
                                    H         H               Ci       Co
                                    C                                  Ci
      CI                                       -I             C-)
                                    C
                                    C)        ,)              C)
                        C)                    (I              (                                 I
                                     I
                                                              C)       N)
CHç                                           (C              C         SC
                                    -


                                              C)              C)       -
(CF                                           Cl
                         C
                                                                                                                                    Page 2 of 2 PageID: 74
